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    8                        UNITED STATES DISTRICT COURT
    9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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   11 JEFFREY N. SCHNEIDER,                      Case No. 2:21-cv-03120-JVS-KES
      Individually and On Behalf of All
   12 Others Similarly Situated,                 [PROPOSED] ORDER
                                                 ADJOURNING RULE 26(f)
   13               Plaintiff,                   SCHEDULING CONFERENCE
   14         v.
   15 CHAMPIGNON BRANDS INC.,
      GARETH BIRDSALL, and
   16 MATTHEW FISH,
   17               Defendants.
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        [PROPOSED] ORDER ADJOURNING RULE 26(f) SCHEDULING CONFERENCE
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    1         Having considered the motion of Michael G. Quinn Jr. for Appointment as
    2 Lead Plaintiff and Approval of Lead Counsel (the “Motion”), and good cause
    3 appearing therefore,
    4 IT IS HEREBY ORDERED THAT:
    5         1.    The Motion is GRANTED; and
    6         2.    The Rule 26(f) Scheduling Conference set for July 12, 2021 at 10:30
    7 a.m. is adjourned sine die and all related deadlines are hereby suspended.
    8
    9 SO ORDERED.
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   11 Dated: _______________, 2021
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                                           HON. JAMES V. SELNA
   14                                      UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER ADJOURNING RULE 26(f) SCHEDULING CONFERENCE
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